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 8                               UNITED STATES DISTRICT COURT
 9                              CENTRAL DISTRICT OF CALIFORNIA
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11   CHANSUE KANG, an individual, and on             CV 19-02252 PA (SPx)
     behalf of other members of the general
12   public similarly situated,                      JUDGMENT
13                 Plaintiff,
14          v.
15   P.F. CHANG’S CHINA BISTRO, INC.
16                 Defendant.
17
18          Pursuant to the Court’s January 9, 2020 Minute Order granting the Motion to Dismiss
19   filed by defendant P.F. Chang’s China Bistro, Inc. (“Defendant”), which dismissed all of the
20   claims asserted by plaintiff Chansue Kang (“Plaintiff”),
21          IT IS HEREBY ORDERED, ADJUDGED, AND DECREED that Defendant shall
22   have judgment in its favor against Plaintiff.
23          IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that Plaintiff’s claims
24   are dismissed with prejudice.
25   //
26   //
27   //
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 1          IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that Plaintiff take
 2   nothing and that Defendant shall have its costs of suit.
 3          IT IS SO ORDERED.
 4
 5   DATED: January 9, 2020                              _________________________________
                                                                    Percy Anderson
 6                                                         UNITED STATES DISTRICT JUDGE
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